                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE



In re:                                                     ) Chapter 11

TINTRI,INC.,i                                              ) Case No.: 18-11625(KJC)

                                    Debtor.                )

                      Deadline for Submitting Bids: August 23,2018 at 5:00 p.m.(Eastern time)
                    Deadline for Objections to Sale: August 21,2018 at 4:00 p.m.(Eastern time)
                                     Auction Date: August 27,2018 at 10:00 a.m.(Eastet•n time)
                                 Sale Hearing Date: August 28,2018 at 1:30 p.IIl.(Eastern tune)

                  NOTICE OF SALE PROCEDURES,AUCTION DATE
         AND SALE BEARING FOR SUBSTANTIALLY ALL OF DEBTOR'S ASSETS

         PLEASE TAKE NOTICE that on July 18, 2018, the above-captioned debtor and

Debtor in possession (the "Debtor") filed the Motion foN Entry ofan Order (I)(A) Authorizing

EntNy into the Asset Purchase AgNeeinent with Respect to the Sale of Substantially all of the

Debtor's Assets; (B) Approving Bid ProceduNesfoN the Sale ofSubstantially All ofthe Assets of

Debtor;(C)Scheduling an Auction and Hearing to ConsideN the Sale and Approve the FoNm and

Manner ofNotzce Related Thereto;(D)Establishing Procedures Relating to the Assumption and

Assignment of CeNtain ConCNacts and Leases, Including Notice of'Proposed Cure Amounts; (E)

Approving Certain Breakup Fee and Expense ReirnbuNsenzent Provisions; (II) AuthoNizing and

AppNoving (A) the Sale of Certain Assets Free and Clear of All Liens, Claims and

Encz~mbNances, Clazms, Encumbrances and Interests and (B) the Assumption anc~ Assignment of

CeNtain ContNacts and Leases; And (III) GNanting Related Relief(the "Motion").2 On August 1,

2018, the Court entered an order (the "Bid Procedures Order") granting the Motion in part and

' The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.
2 Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion.



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approving the bid procedures annexed hereto (the "Bid Procedures") to be used in Connection

with the auction (the "Auction") of the Debtor's assets (the "Assets"). Pursuant to the Motion,

the Debtor seeks, inteN alia, the Bankruptcy Court's approval of the sale of substantially all of its

assets (the "Assets") to TI Acquisition Corp., a wholly-owned subsidiary of DataDirect

Networks, Inc. (the "Stalking Horse Purchaser"), or to the other successful purchasers) of the

Assets at an auction (the "Auction"), free and clear of liens, claims, encumbrances and other

interests.

                                  Bid Procedures and Auction

        PLEASE TAKE FURTHER NOTICE that the Bid Procedures approved by the Bid

Procedures Order, a copy of which are attached hereto as Exhibit 1, describe, inter alia, the

terms of the bidding process, the requirements and deadlines for participation therein, required

terms of any bids, and the time, location and conduct of the Auction. In the event of any

inconsistency or conflict between this Notice, the Bid Procedures and the Bid Procedures Order,

the Bid Procedures Order shall control.

        PLEASE TAKE FURTHER NOTICE the Auction will commence on August 27, 2018

at 10:00 a.m. (Eastern Time) at the offices of Pachulski Stang Ziehl &Jones LLP, 919 North

Market Street, 17t"Floor, Wilmington, DE 19801.

                                          The Sale Hearin

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled a

hearing for August 28, 2018 at 1:30 p.m. (Eastern Time) (the "Sale Hearing") to consider

approval of the winning bids) and confirm the results at the Auction for the Assets, pursuant to

the Motion. The Sale Hearing may, however, be adjourned in open court from time to time,

without further notice. The Sale Hearing will be held before the Honorable Kevin J. Carey,



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United States Bankruptcy Judge, at the United States Bankruptcy Cpurt for the District of

Delaware, 824 North Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that the Bid Procedures annexed hereto shall

govern the bidding process and the Auction of the Assets. Any person that wishes to receive a

copy of the Bid Procedures Order shall make such request in writing to Pachulski Stang Ziehl &

Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, Delaware 19899-

8705 (Courier 19801), Attn: John D. Fiero, Esq. and Colin R. Robinson, Esq.,

jfiero@pszjlaw.com; crobinson@pszjlaw.com.

                                             Ob.iQctions

        PLEASE TAKE FURTHER NOTICE that any objection to any of the relief to be

requested at the Sale Hearing must be in writing, state the basis of such objection with

specificity, and shall be filed with the Court, with a courtesy copy to Chambers, and shall be

served on: (i) counsel to the Debtor and Debtor-in-Possession, Pachulski Stang Zielil &Jones

LLP, 919 North Market Street, 17t" Floor, P.O. Box 8705, Wilmington, DE           19899-8705

(Courier 19801), (Attn:           John D. Fiero, Esq. and Colin R. Robinson, Esq.), Email:

jfiero@pszjlaw.com, crobinson@pszjlaw.com; (ii) counsel to the Official Committee of

Unsecured Creditors, Womble Bond Dickinson (US) LLP, 222 Delaware Avenue, Suite 1501,

Wilmington, DE 19801, (Attn: Matthew P. Ward, ~sq. and Ericka F. Johnson, Esq.), Email:

matthew.ward@wbd-us.com, ejohnson@wbd-us.com; (iii) counsel to Silicon Valley Bank,

Debtor's prepetition senior secured lender ("SVB"), (a) Riemer &Braunstein LLP, Times

Square Tower, Seven Times Square, Suite 2506, New York, NY 10036 (Attn: Steven E. Fox,

F_,sq.), Erriail: sfox@riemerlaw.com, and (b) Ashby &Geddes, 500 Delaware Avenue, P.O. Box

1150,    Wilmington,         DE     19899   (Attn:   Gregory   A.   Taylor,   Esq.),   Email:



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GTaylor@ashbygeddes.com; (iv) counsel to TriplePoint Capital LLC, Debtgr's debtor in

possession lender,(a) McDermott Will &Emery, 340 Madison Avenue, New York, NY 10173

(Attn: Riley T. Orloff, Esq.), Email: rorloff@mwe.com, (b) McDermott Will &Emery, 2Q49

Century Park East, Suite 3800, Los Angeles, CA 90067 (Attn: Gary B. Rosenbaum, Esq.),

Email: grosenbaum@mwe.com, and (c) Polsinelli PC, 222 Delaware Avenue, Suite 1101,

Wilmington, DE 19801 (Attn: Stephen J. Astringer, Esq.), Email: sastringer@polsinelli.com;(v)

the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 N. King Street,

Suite 2207, Lock Box 35, Wilmington, DE 19801, Attn: Timothy J. Fox, Jr., Esq.; and (vi)

counsel to the Stalking Horse Purchaser: Richards, Layton &Finger, P.A., One Rodney Square,

920 North King Street, Wilmington, DE 19801, (Attn: John H. Knight, Esq.), Email:

Knight@rlf.com and Manatt, Phelps &Phillips, LLP, 11355 W. Olympic Blvd, Los Angeles, CA

90064 (Attn: Blase Dillingham, Esq.), Email: bdillingham@manatt.com, so as to be received by

August 21,2018, at x:00 p.m.(Eastern Time).

       PLEASE TAKE FURTHER NOTICE that all requests for information concerning the

Assets and all requests for information concerning the Bid Procedures, should be directed in

writing to Pachulski Stang Ziehl &Jones LLP, 919 N. Market St., 17th Floor, Wilmington,

Delaware      19801, (Attn: John D. Fiero, Esq. and Colin R. Robinson, Esq.), email:

jfiero@pszjlaw.com; crobinson@pszjlaw.com.

Dated: August 2, 2018        PACHULSKI STANG ZIEHL &JONES LLP
                             /s/ Colin R. Robinson
                             John D. Fiero(CA Bar No. 136557)
                             John W. Lucas(CA Bar No. 271038)
                             Colin R. Robinson(DE Bar No. 5524)
                             919 N. Market Street, 17th F1oor,Wilmington, DE 91899
                             Tel: (302)652-4100/Fax: (302)-652-4400
                             Email:jfiero@pszjlaw.com,jlucas@pszjlaw.com,
                             crobinson@pszjlaw.com
                             Proposed AttorneysfoN DebtoN c~nd Debtor in Possesszon


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